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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                      )
    In re                                             )      Chapter 11
                                                      )
    AMYRIS, INC., et al.,                             )      Case No. 23-11131 (TMH)
                                                      )
                             Debtors. 1               )      (Jointly Administered)
                                                      )      Obj. Deadline: February 8, 2023, at 4:00 p.m.
                                                      )

               SUMMARY OF FOURTH MONTHLY APPLICATION
              OF SHEARMAN & STERLING LLP FOR ALLOWANCE
              OF COMPENSATION FOR SERVICES RENDERED AND
     REIMBURSEMENT OF EXPENSES AS SPECIAL COUNSEL FOR THE DEBTORS
     FOR THE PERIOD FROM DECEMBER 1, 2023, THROUGH DECEMBER 31, 2023
    Name of Applicant:                                        Shearman & Sterling LLP

    Authorized to Provide Professional Services to: Debtors and Debtors in Possession

    Date of Retention:                                        September 26, 2023 (Effective as of August 9, 2023)

    Period for which compensation and
                                                              December 1, 2023, through December 31, 2023 2
    reimbursement is sought:

    Amount of Monthly Compensation sought as
                                                              $95,013.00
    actual, reasonable and necessary:

    Amount of Monthly Expense Reimbursement
                                                              $313.19
    sought as actual, reasonable and necessary:

    This is a: X       monthly            final
    application




1
      A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the
      Debtors’ claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.
      principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street,
      Suite 100, Emeryville, CA 94608.
2
      The applicant reserves the right to include any time expended in the time period indicated above in future
      application(s) if it is not included herein.
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        The total time expended for fee application preparation is approximately 20 hours and the

 corresponding compensation requested is approximately $20,000. Shearman & Sterling has

 voluntarily reduced its fee and written off $5,000.

 Prior applications:
                                              Requested                          Approved
Date Filed;           Period Covered              Fees            Expenses               Fees           Expenses
Docket No.
 Oct. 30, 2023;
                      8/9/23 – 9/30/23         $72,653.00           $23.79         $72,653.00               $23.79
      639
 Nov. 22, 2023;
                     10/1/23 – 10/31/23        $40,147.50           $32.29         $40,147.50               $32.29
      783
 Dec. 14, 2023;
                     11/1/23 – 11/30/23        $93,174.00           $22.75         $93,174.00               $22.75
      915
                  Total                        $205,974.50          $78.83        $205,974.50               $78.83

                          MONTHLY COMPENSATION BY INDIVIDUAL

                                                  Hourly
                             Title and            Billing                        Total
       Name of                                                                                     Total
                            Year/State of          Rate          Expertise       Billed
  Professional Person                                                                           Compensation
                             Admission          (including                       Hours
                                                 changes)
                           Partner at firm.
                           Member of the                             IP
  Corey Betker                                  $1,460.00                         11.8           $17,228.00
                           NY Bar since                         Transactions
                           2011.

                           Partner at firm.
                           Member of the                        Mergers &
  Michael S. Dorf                               $2,130.00                         11.3           $24,069.00
                           CA Bar since                         Acquisition
                           1992.

                           Associate at
                           firm. Member                              IP
  Austin Grossfeld                              $1,215.00                         26.9           $32,683.50
                           of the NY Bar                        Transactions
                           since 2022.

                           Associate at
                           firm. Member
  J. Kyle Jaksa                                 $1,215.00       Bankruptcy        18.5           $22,477.50
                           of the TX Bar
                           since 2020.


  Bryan Jankay             Administration        $225.00       Administration     0.3              $67.50


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                                                     Hourly
                               Title and             Billing                         Total
         Name of                                                                                 Total
                              Year/State of           Rate           Expertise       Billed
    Professional Person                                                                       Compensation
                               Admission           (including                        Hours
                                                    changes)
                             Associate at
                             firm. Member
    Daniel A. Kahn                                 $1,415.00         Litigation       2.1       $2,971.50
                             of the NY Bar
                             since 2010.
                             Partner at firm.
                             Member of the
    Daniel H.R.              NY Bar since
                                                   $2,130.00         Litigation       0.2          $426.00
    Laguardia                2000. Member
                             of the CA Bar
                             since 2017.


    Ruth Sheopaul            Administration         $225.00       Administration      0.4          $90.00


    Total                                                                            71.5      $95,013.00 3
    Blended Rate:                                   $1,398.78




3
      Shearman & Sterling has voluntarily reduced its fee and written off $5,000.
                                                          3
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                    MONTHLY COMPENSATION BY PROJECT CATEGORY

                       Project Category                                Total Hours            Total Fees

    Beauty Labs Litigation                                                  3.0               $3,555.00

    Retention and Fee Applications                                         19.9              $20,459.50 4

    Legacy Transactions Advice                                             11.2               $16,411.50

    Apricot Givaudan Restructuring                                          0.6                $876.00

    DSM-Firemenich Restructuring                                           36.8               $53,711.00

    TOTAL                                                                  71.5               $95,013.00




4
      Shearman & Sterling has voluntarily reduced its fee and written off $5,000.
                                                          4
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               MONTHLY EXPENSE SUMMARY

 Expenses Category                                Total Expenses
 Other Outside Services                                  $313.19
 TOTAL                                                   $313.19




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                       )
    In re                                              )     Chapter 11
                                                       )
    AMYRIS, INC., et al.,                              )     Case No. 23-11131 (TMH)
                                                       )
                              Debtors. 1               )     (Jointly Administered)
                                                       )     Obj. Deadline: February 8, 2023, at 4:00 p.m.
                                                       )

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              OF SHEARMAN & STERLING LLP FOR ALLOWANCE
              OF COMPENSATION FOR SERVICES RENDERED AND
     REIMBURSEMENT OF EXPENSES AS SPECIAL COUNSEL FOR THE DEBTORS
     FOR THE PERIOD FROM DECEMBER 1, 2023, THROUGH DECEMBER 31, 2023

            Pursuant to sections 330 and 331 of title 11 of the United States Code (the “Bankruptcy

Code”), and Rule 2016 of the Federal Rules of Bankruptcy Procedure, and in accordance with that

certain Order Under 327(e) of the Bankruptcy Code Authorizing the Employment and Retention of

Shearman & Sterling LLP as Special Counsel for the Debtors Effective as of the Petition Date

[Docket No. 361] (the “Retention Order”) and that certain Order Establishing Procedures for

Interim Compensation and Reimbursement of Expenses for Professionals [Docket No. 279] (the

“Interim Compensation Order”), the law firm of Shearman & Sterling LLP (“Shearman”) hereby

applies (the “Application”) to the United States Bankruptcy Court for the District of Delaware (the

“Court”) for reasonable compensation for professional legal services rendered as special counsel

to the above-captioned debtors and debtors in possession (the “Debtors”), in the amount of

$95,013.00, together with reimbursement for actual and necessary expenses incurred in the amount

of $313.19, for the period commencing December 1, 2023 through and including December 31,


1
      A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the
      Debtors’ claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.
      principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street,
      Suite 100, Emeryville, CA 94608.
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2023 (the “Fee Period”). In support of this Application, Shearman respectfully represents as

follows:

                                         BACKGROUND

       1.      On August 9, 2023 (the “Petition Date”), the Debtors filed voluntary petitions with

the Court under chapter 11 of the Bankruptcy Code.

       2.      Pursuant to the Retention Order, Shearman was retained to represent the Debtors

as special counsel in connection with these chapter 11 cases, effective as of the Petition Date. The

Retention Order authorizes Shearman to be compensated on an hourly basis and to be reimbursed

for actual and necessary out-of-pocket expenses.

       3.      All services for which compensation is requested herein by Shearman were

performed for or on behalf of the Debtors.

                          SUMMARY OF SERVICES RENDERED

       4.      Attached hereto as Exhibit “A” is a detailed statement of fees incurred during the

Fee Period, showing the amount of $95,013.00 due for fees.

       5.      The services rendered by Shearman during the Fee Period are grouped into the

categories set forth in Exhibit “A.” The attorneys and paralegals who rendered services relating

to each category are identified, along with the number of hours for each individual and the total

compensation sought for each category, in the attachments hereto.

                                       DISBURSEMENTS

       6.      Exhibit “B” attached hereto is a detailed statement of expenses paid by Shearman

during the Fee Period, showing the amount of $313.19 due for reimbursement of expenses. A

complete review by category of the expenses incurred for the Fee Period may be found in the

attachments hereto as Exhibit “B.”




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                                 VALUATION OF SERVICES

       7.       Attorneys and paraprofessionals of Shearman have expended a total of 71.5 hours

in connection with this matter during the Fee Period.

       8.       The amount of time spent by each person providing services to the Debtors for the

Fee Period is fully set forth in the invoices attached hereto as Exhibit “A.” The rates reflected are

Shearman’s standard hourly rates of compensation for work of this character. The reasonable

value of the services rendered by Shearman for the Fee Period as special counsel for the Debtors

in these cases is $95,013.00.

       9.       Shearman believes that the time entries included in Exhibit “A” attached hereto and

the expense breakdown set forth in Exhibit “B” attached hereto are in compliance with the

requirements of Local Rule 2016-2.

       10.      In accordance with the factors enumerated in section 330 of the Bankruptcy Code,

the amount requested is fair and reasonable given (a) the complexity of these chapter 11 cases,

(b) the time expended, (c) the nature and extent of the services rendered, (d) the value of such

services, and (e) the costs of comparable services other than in a case under chapter 11 of the

Bankruptcy Code.

       11.      This Application covers the period from December 1, 2023, through and including

December 31, 2023. Shearman has continued, and will continue, to perform additional necessary

services for the Debtors subsequent to the Fee Period, for which Shearman will file subsequent fee

applications.

                                         CONCLUSION

       WHEREFORE, Shearman requests that allowance be made to it in the sum of $95,013.00

for compensation for necessary professional services rendered to the Debtors for the Fee Period,




                                                 3
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and $313.19 for reimbursement of actual necessary costs and expenses incurred during that period,

and requests such other and further relief as the Court may deem just and proper.



                                  [Signature Page to Follow]




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